                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00669
                                                         Honorable Edmond E. Chang
Gregg Smith, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 23, 2023:


        MINUTE entry before the Honorable Edmond E. Chang as to Gregg Smith: On
review of Defendants Smith and Nowak's motion [827] to preclude adjustment of the
government's version, the motion is denied but the sentencing will be continued and the
defense of course may respond to the government's supplement. Ideally, the government
would have filed an extension motion on its version, or (more aptly) sought an extension
to supplement the version with the loss calculation while submitting a version with all
other components. The defense could have held off on the loss calculation too and done
the same. The grounds for an extension were more than sufficient, given the preparation
for the then−pending Jordan trial. In any event, in light of the apparent importance of the
loss calculation, whether under the Sentencing Guidelines or 18 U.S.C. 3553(a), the filing
of the government's supplemental version is accepted. The Defendants may provide the
Probation Office with the defense's supplemental version in response by 02/23/2023 (the
defense may seek an extension if that deadline is a problem). The PSR then would be due
by 03/06/2023. For sentencing memorandum, rather than the prior simultaneous
cross−briefing, the government's sentencing memorandum is due on 03/20/2023. The
Defendants' respective sentencing memoranda are due on 04/10/2023. The government's
reply is due on 04/17/2023. The defense may each file a 10−page sur−reply on
04/24/2023. Defendant's Smith sentencing is reset to 05/02/2023 at 9:30 a.m. Defendant
Nowak's sentencing is reset to 05/03/2023 at 9:30 a.m. Emailed notice (mw, )




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